                                          UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF NORTH CAROLINA
                                              CHARLOTTE DIVISION
                                           DOCKET NO. 3:96-cr-00066-MOC

                UNITED STATES OF AMERICA,                    )
                                                             )
                                                             )
                                                             )
                Vs.                                          )                     ORDER
                                                             )
                DARRYL ANTOINE COLEMAN,                      )
                                                             )
                                  Defendant.                 )



                        THIS MATTER is before the court on defendant’s Motion for Early Termination of

               Supervised Release. The Supervising Officer has provided the court with a written concurrence

               and the government has provided a written indication that it does not object. Having determined

               defendant has successfully completed nine years on supervised release, the court enters the

               following Order.

                                                        ORDER

                        IT IS, THEREFORE, ORDERED that defendant’s Motion for Early Termination of

               Supervised Release (#682) is GRANTED, and defendant’s Supervised Release is TERMINATED

               successfully.


Signed: June 20, 2016




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